Case 2:02-CV-02880-BBD Document 108 Filed 06/23/05 Page 1 of 2 Page|D 67

UNITED sTATEs DISTRICT coURT F“£D BY - D.C-
WESTERN DISTRICT OF TENNESSEE§ JUN 23 AH,U_. 2£
WESTERN DIVISION

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'“v-vP*NTWEMFHB

DWAYNE WILLIAMS JUDGMENT IN A CIVIL CASE
v¢
SHELBY COUNTY, et al. CASE NO: 02-2880-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED.AND.ADJUDGED that in accordance with the Order Of
Dismissal As To Plaintiff Dwayne Williams entered.on.June 203 2005,
this cause is hereby dismissed with prejudice.

THOMAS M. GOULD

Clerk of Court .

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(By)p/Dquty Cle#k

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 108 in
case 2:02-CV-02880 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

i\/lemphis7 TN 38103

Dwayne Williams
12561 South Michigan
Chicago, IL 60628

Linda Kendall Garner

LAW OFFICE OF LINDA KENDALL GARNER
217 EXchange Ave.

i\/lemphis7 TN 38105

Honorable Bernice Donald
US DISTRICT COURT

